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CaSe 297 Cr 202361‘11Fi“i1be§'i) sTATEs DISTRICT coURT

FOR THE WESTERN DISTRICT OF TENNE§§R.E ,.1 J'f’w D 8

 

 

 

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GSJUL 15 PH 2= 087
UNITED srArEs oF AMERICA )
d . ) ., b
Piamuir, ) 97-20236-1\/11 /
) 97-20237-M1
vs ) 97_20233-1\/11
) 97-20239-M1
EDDIE JETER ) 97-20240-M1
) 97_20241-M1
Defendant. )
oRDER To sURRENDER

 

Thc defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Pn`sons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MEMPHIS
(SCP) 1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on FRIDAY, AUGUST 5,
2005. l

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, F ederal Off`lce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt cfa copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED misehe 115 day ofJuly,zoos.

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J PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

This document entered on the docket sheet in compliance

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with ama 55 and/or aaib) snch on j ls

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Case 2:97-cr-20236-.]PI\/| Document 170 Filed 07/15/05 Page 2 of 3 Page|D 78

ACKNOWLEDGM`ENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

 

Clerk/Deputy Clerk Defendant

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 170 in
case 2:97-CR-20236 vvas distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

Jacob E. Ervvin
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Ste. 13 13

1\/1emphis7 TN 38103

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

